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10                          UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                  No. CR 20-165-ODW

13             Plaintiff,                       ORDER (1) UNSEALING CASE; (2)
                                                SEALING PREVIOUSLY FILED
14                   v.                         DOCUMENTS; AND (3) AUTHORIZATION
                                                TO LODGE REDACTED PLEA AGREEMENT
15   RICARDO PACHECO,
16             Defendant.
17

18         For good cause shown, IT IS HEREBY ORDERED THAT:
19         The entire case shall be unsealed and all previously filed
20   documents filed therein shall be unsealed, except the plea agreement
21   filed on March 26, 2020 and the government’s Unopposed Ex Parte
22   Application for Order Sealing Information and Related Documents filed
23   on March 26, 2020 shall both remain sealed.         Additionally, the ex
24   parte application filed in connection with this order shall be
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27   ///
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 1   sealed.   Finally, the government shall be permitted to lodge a

 2   redacted version of the previously-filed plea agreement with the

 3   Court.

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 5   January 26, 2021
 6   DATE                                     HONORABLE OTIS D. WRIGHT
                                              UNITED STATES DISTRICT JUDGE
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 1                             CERTIFICATE OF SERVICE

 2        I, N. Escalera, declare:

 3        That I am a citizen of the United States and a resident of or

 4   employed in Los Angeles County, California; that my business address

 5   is the Office of United States Attorney, 312 North Spring Street,

 6   Los Angeles, California 90012; that I am over the age of 18; and

 7   that I am not a party to the above-titled action;

 8        That I am employed by the United States Attorney for the

 9   Central District of California, who is a member of the Bar of the

10   United States District Court for the Central District of California,

11   at whose direction I served a copy of:

12                      GOVERNMENT’S EX PARTE APPLICATION (UNDER SEAL);

13                                   AND   [PROPOSED] ORDER

14    ☒ By E-mail, as follows:

15    glenjonas@aol.com

16

17

18
          This Certificate is executed on January 26, 2021 at Los
19
     Angeles, California.     I certify under penalty of perjury that the
20
     foregoing is true and correct.
21
                                              /s/
22                                            N.Escalera
                                              Legal Assistant
23

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